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                          IN THE UNITED STATES I~ANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:

AQUION ENERGY,INC.                                                            Chapter 11
                                   Debtor.                          Bankr. Case No. 17-10500-KJC



BRYAN A. DILASCIO on behalf of himself and
all others similarly situated,

                                   Plaintiff,                      Ad~~. Pro. le1o. 17-50337(I~JC)

                 v.

AQUION ENERGY,INC.,

                                   Defendant.


         NOTICE OF THE PARTIES'FORTHCOMING CERTIFICATION OF COUNSEL
          REGARDING PLAINTIFF'S MOTION FOR CLASS CERTIFICATION AND
                                RELATED RELIEF

           Aquion Energy, Inc.("Defendant")1, by and through its undersigned counsel, herein

   represents as follows:

           WHEREAS on September 15, 2017, Plaintiff filed a Motion for Class Certification and

   Related Relief(the "Motion")(Dkt. 19) with the United States Bankruptcy Caurt for the District

   of Delaware (the "Court");

           WHEREAS the current deadline for Defendant to respond to Plaintiff's Motion is March

   22, 2018;




   1 The Defendant is now known as AEI Winddown, Inc.

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         WHEREAS the Parties have met and conferred and are working together to agree on a

proposed class definition and intend to file a Certification of Counsel, proposed Notice to the

Class, and a Proposed Order reflecting the Parties' consensual class definition; and

          WHEREAS the Defendant reserves all defenses to Plaintiff's Motion and preserves the

right to file an opposition, subject to this Court's approval, to Plaintiff's Motion in the event the

Parties cannot reach a consensus as to a proposed class definition.



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Respectfully submitted,

Dated: March 22, 2018                                      PACHULSKI STANG ZIEHL &JONES LLP

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                                                           -and-

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